           Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 1 of 11



1    Telia U. Williams, Esq.
     Nevada Bar No. 9359
2
     Law Office of Telia U. Williams
3    10161 Park Run Dr., Ste. 150
     Las Vegas, Nevada 89145
4    Tel: (702) 835-6866
     telia@telialaw.com
5

6    Attorney for defendant
     Omar Qazi
7
                                 UNITED STATES DISTRICT COURT
8

9                                       DISTRICT OF NEVADA

10   UNITED STATES OF AMERICA,                             Case No.: 2:15-cr-00014-APG-VCF
11                  Plaintiff,
12
     vs.
13                                                         DEFENDANT’S SENTENCING
     OMAR QAZI,
14                                                         MEMORANDUM
                    Defendant
15

16
     Certification: This memorandum is timely filed.

17
            Defendant Omar Qazi, through undersigned counsel, submits this Sentencing

18
     Memorandum under seal 1 for the Court’s consideration and requests a sentence, as calculated and

19
     reviewed pursuant to 18 U.S.C. §§ 3553(a) and 3661, that is sufficient but not

20
     greater than necessary to achieve the statutory goals of sentencing.

21
            DATED this 8th day of November, 2018.

22
                                                       LAW OFFICE OF TELIA U. WILLIAMS

23                                            By:      ____________________________________________
                                                       Telia U. Williams, Esq.
24
                                                       Attorney for Omar Qazi
25

26

27

28
                                                       1
          Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 2 of 11



1

2                                             MEMORANDUM
3
     1.      Nature and Circumstances of the Offense
4

5            Nearly four years ago, on January 6, 2015, Omar Qazi was stopped by the police while

6    driving out of the area of his apartment complex. Mr. Qazi was found to be speeding and/or failing

7    to yield to a police officer in a marked patrol vehicle. According to the officer, he could smell

8    marijuana from the vehicle, and thereafter conducted a search of Mr. Qazi’s vehicle based on

9    probable cause. Incident to the search, Mr. Qazi was found to have in his possession (by way of

10   having control of the vehicle), a firearm, to wit, a Smith and Wesson .22 caliber revolver, with

11   serial number M37231. Though he declined to provide consent to the police to search his vehicle,

12   (which was overcome by the probable cause of the smell of marijuana, in any case), in every

13   respect Mr. Qazi was respectful and cooperative with the police. Eventually, the police also found

14   three “baggies” of marijuana, and two of methamphetamine. Mr. Qazi was taken into state

15   custody. On January 20, 2015, Mr. Qazi was indicted in this court for a single count of Felon in

16   Possession of a Firearm. 2 He was transferred to federal custody, on or near February 24, 2015,

17   where he has remained until now. On August 1, 2018, Mr. Qazi was found guilty of the charge by

18   an unanimous jury.

19   2.      Mr. Qazi’s History and Characteristics

20           There are twenty-eight offenses that United States Probation has identified in Mr. Qazi’s
21   Pre-Sentence Report. Undoubtedly, Mr. Qazi has a storied criminal history going back to the age
22
     of 18. To be clear, not all of it is serious. However, fully 24 of the 28 offenses listed in his criminal
23
     convictions (going across 12 pages) carry only “0” or “1” point(s).
24

25           These include 18 convictions for:

26

27

28                   2
                         See 18 U.S.C. § 922(g)(1) and 18 U.S.C. § 924(a)(2).
                                                        2
          Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 3 of 11



1           --Illegal Parking (paragraphs 30, 31, 35, 36, 37, 38, 42, 48, 51, 52)
2
            --Speeding & Miscellaneous Traffic (paragraphs 47, 49, 50, 53, 54, 55, 56, 57)
3
     Each of the foregoing garnered “0” points.
4
            These also include two misdemeanor convictions for carrying a concealed weapon that
5

6    garnered “1” point each (paragraphs 33 and 34).

7            Two of the rest of Mr. Qazi’s offenses are also non-violent, for attempted pandering, and
8
     attempted theft (paragraphs 39 and 44). Each of these garnered “2” points each.
9
            One misdemeanor battery (domestic violence), earned “2” points, as well.
10
            But the only “3” point offense, which comprises the lion’s share of Mr. Qazi’s criminal
11

12   history points, consist of the hotly contested “Battery with Substantial Bodily Harm” (see

13   paragraph 46) when he was twenty-two years old.
14
            Mr. Qazi submits that despite the relatively high number of criminal history points that all
15
     of the foregoing add up to, he has not had significant enough criminal history, relatively speaking,
16
     to truly merit being in Criminal History Category V of the Sentencing Guidelines. His criminal
17

18   history points tend to over-represent his criminal history, consisting as it does of only one felony.

19   (All the rest of Mr. Qazi’s criminal convictions are for misdemeanors.) It is not often the case that
20
     a criminal defendant in this court would land in the second highest criminal history category who
21
     has only managed to be convicted of a sole felony, and one for which the defendant only spent two
22
     years in prison.
23

24          Inasmuch as Mr. Qazi’s criminal history is largely non-serious, non-violent (even leaving

25   aside for the moment the “crime of violence” issue involving his only felony), and consisting
26
     overwhelmingly of misdemeanors, and of those, the vast majority are traffic offenses, the court
27
     should disregard the technical calculation of Mr. Qazi’s criminal history landing him in the “V”
28
                                                       3
          Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 4 of 11



1    category. Category V is typically where the most serious offenders, with a long history of serious
2
     offenses land. Instead, Mr. Qazi requests that he be placed in Category “III,” which, being the
3
     category in which moderate offenders, such as he, would most often be represented. With a
4
     Category “III,” Mr. Qazi’s guidelines range would significantly and reasonably shift downward.
5

6            Finally, though clearly prohibited for him to possess, it is still important to note that Mr.

7    Qazi was not using the firearm in a violent way, nor to facilitate a crime.
8
            Certainly, it is true, that Mr. Qazi is “no stranger to the criminal justice system.” But any
9
     characterization that Mr. Qazi has an unequivocal propensity towards “violent crimes” is not
10
     substantiated by his criminal record.
11

12   3.     Mr. Qazi’s 2010 Battery with Substantial Bodily Harm Should Not Be Used to
            Enhance His Sentence, Nor for “Drug Trafficking” or “Obstruction of Justice”
13
            Mr. Qazi should not be subject to an enhancement for substantial bodily harm. This issue
14
     has been well-litigated, and thus, will not be treated in any depth in this memorandum. However,
15

16
     the arguments presented in Mr. Qazi’s motions to be released pending sentencing, as well as his

17   supplement filed thereto, and any subsequent supplements or memoranda are herein incorporated.
18            Mr. Qazi objects to the characterization that he was “drug trafficking,” or that the amount
19
     of methamphetamine and/or marijuana with which he was found when he was stopped by the
20
     police was anything other than personal use, and/or the personal use of those in his proximity (i.e.,
21

22
     not for sale). Inasmuch as this factual allegation is not one that was proven at trial, the Government

23   bears the burden of proving that Mr. Qazi was using his firearm in connection with drug trafficking,
24   a burden that it will not reasonably be able to bear. As such, Mr. Qazi requests that the four-level
25
     enhancement on his PSR be stricken. This would bring his adjusted criminal offense level down
26
     to a “24.”
27

28
                                                       4
          Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 5 of 11



1           Finally, Mr. Qazi objects to the characterization that he suborned perjury for asking his
2
     mother to testify in his behalf in any proceedings before this, and/or any other court (including the
3
     state court) involving this offense. Indeed, Gloria Qazi is a grown woman, a mother, and a non-
4
     English speaker. It is unfathomable that Mr. Qazi should be considered to have coached her in
5

6    what to say, or even could with any certainty anticipate that what she would have said would have

7    violated her oath to tell the truth regarding what she knew about his offense. Ms. Qazi, a woman
8
     who has been battling Stage 4 cancer for the entirety of this litigation, like any mother, is inclined
9
     to see events favorable to her son, and it is eminently human for her to have tried to assist in his
10
     defense; perhaps, this was part denial, or part gloss. The enhancement for “obstruction” should be
11

12   stricken. This would bring Mr. Qazi’s adjusted criminal offense level down further to “22.”

13   4.     Mr. Qazi Should Be Accorded Some Points in Reduction for “Acceptance of
            Responsibility”
14

15
            The PSR denies that Mr. Qazi accepted responsibility for his conduct. However, Mr. Qazi
16
     maintains that he accepted responsibility for being a felon, and for possessing the firearm, two
17
     essential elements of his offense. 3 In fact, Mr. Qazi early in the case signed a stipulation that he
18

19   was a felon, and closer to trial, as this court well knows, proffered a stipulation that he possessed

20   a firearm. His proffered “unilateral stipulation” was rejected by the government, and only partly
21
     granted by the court, but it nonetheless indicates that Mr. Qazi did not intend to put the government
22
     to its proof on this element.
23
            Mr. Qazi’s intent in going to trial was to contest the element of “interstate commerce.” It
24
     was a strictly legal contention, and not a factual one. However, slight or marginal the legal viability
25

26

27

28                  3
                        See 18 U.S.C. § 922(g)(1); 18 U.S.C. § 924(a)(2).
                                                       5
          Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 6 of 11



1    of this claim might be, it does not tend to contravene his “acceptance of responsibility.” It is true
2    that Acceptance of Responsibility “is not intended to apply to a defendant who puts the government
3    to its burden of proof at trial by denying the essential factual elements of guilt.” 4 But Mr. Qazi
4    did not deny the “essential factual elements of guilt.” He focused instead on his legal argument
5    that the firearm did not travel in interstate commerce. Indeed, Mr. Qazi tried, without success, to
6    100% stipulate to the fact that he, a felon, was in possession of a firearm, obviating the
7    government’s burden of proving that second element. (The government did not have the burden
8    of proving the first element inasmuch as Mr. Qazi had already entered a joint stipulation with the
9    government regarding it). Mr. Qazi plainly did not put the government to the burden of proving
10   that he was in possession of the firearm, and an assertion that he did is plainly inaccurate.
11          Mr. Qazi felt that he had no other means to contest the factual contention that the firearm
12   that he possessed passed in interstate commerce except by proceeding to trial on it. But the court
13   can, and should, find that he “accepted responsibility” for his conduct, which he did not deny at
14   trial. The USSG envisions this situation where it says:
15                  Conviction by trial, however, does not automatically preclude a defendant from
                    consideration for such a reduction [for acceptance of responsibility]. In rare
16
                    situations a defendant may clearly demonstrate an acceptance of responsibility for
17                  his criminal conduct even though he exercises his constitutional right to a trial. This
                    may occur, for example, where a defendant goes to trial to assert and preserve
18                  issues that do not relate to factual guilt (e.g. to make a constitutional challenge to a
                    statute or a challenge to the applicability of a statute to his conduct)… 5
19

20
     Mr. Qazi presents that “rare situation.” He went to trial to challenge that the firearm that he was
21
     found with actually passed through interstate commerce, and to challenge perceived government
22
     misconduct in relation to stopping him. This is just the kind of situation where he did not deny the
23
     principal “factual” aspects of his guilt, but to preserve issues of importance to his legal challenges,
24

25

26                  4
                       See United States Sentencing Guidelines Manual (USSG) at §3E1.1(2)
27   (Emphasis added).
                     5
                       See id. (Emphases added) (Underlined emphasis added to show that what
28   follows is just an example, and not the only possible illustration of this principle).
                                                       6
          Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 7 of 11



1    however novel or unworkable. Thus, Mr. Qazi’s assertion of his constitutional right to trial should
2    not work against his having accepted responsibility, entitling him to “2” points in mitigation of his
3    adjusted offense level. This would take Mr. Qazi’s adjusted offense level to “20.”
4    5.       Mr. Qazi Has Made Steps to Change
5             The PSR points out some less than stellar conduct on the part of Mr. Qazi while in custody
6
     for this offense, and that is undeniable. However, it does fail to present the full story. Inasmuch
7
     as only Mr. Qazi was there (particularly for the prison incident on the Fourth of July), even though
8
     there is a video, it bears remembering that there are “two sides to every story.” Rather than attempt
9

10   to outline all of what Mr. Qazi believes happened, it would be imperative on the court to allow Mr.

11   Qazi to articulate his side of what happened. In short, though, Mr. Qazi, a Muslim, had requested
12
     a meeting with the former Warden of the Pahrump Detention Center where he is housed, regarding
13
     a special meal for the upcoming July 4 holiday. It is customary for the prison to accord inmates a
14
     special holiday meal during such times. However, those on religious diets, such as Mr. Qazi, do
15

16   not typically get a different meal during those times. Mr. Qazi viewed it as having to decide

17   between observing his religious faith as a Muslim, or observing his patriotic celebration as an
18
     American. The former Warden, Jeanne Killian, agreed. She promised Mr. Qazi, and the group of
19
     other inmates in similar position as he, that they would be accorded a special meal on the upcoming
20
     holiday, one that would also respect their religious observances (such as no pork products for Mr.
21

22   Qazi).

23            However, the prison staff apparently, in flagrant disregard for what Ms. Killian had
24
     promised Mr. Qazi and his fellow inmates, gave the men the same meal as they ordinarily received,
25
     with the exception of a minor treat. Mr. Qazi, incensed at what appeared to be an intentional or
26
     careless infringement of his religious rights questioned and challenged the meal. One thing led to
27

28   another, and eventually Mr. Qazi found himself in a stand-off. (Again, Mr. Qazi can himself better
                                                      7
          Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 8 of 11



1    articulate what occurred, and what exactly he was promised by the Warden). But most important,
2
     Mr. Qazi did not initiate the conflict that led to his being “taken down,” pepper-sprayed and
3
     physically disciplined by the staff at the facility. Mr. Qazi was emotional and passionate about
4
     what he reasonably perceived as a religious slight, at best, and outright discrimination, at worst. It
5

6    is not surprising that he might have a strong reaction to it. This event, as well as others listed in

7    the PSR, which were not part of criminal offenses for which he was prosecuted, or part of the
8
     offense conduct for which he is being prosecuted now, should not be used against him in
9
     sentencing him.
10
             Mr. Qazi has been under tremendous pressure in custody. He has been representing
11

12   himself, has been away from his young son, and his girlfriend. He has been separated from his

13   mother on whom he counts for support, and who has been suffering late-stage terminal cancer.
14
     Mr. Qazi was not raised with his father, and is especially close with his mother. As noted herein,
15
     he is not one who has an incredibly long or varied criminal history, and has only been in custody
16
     for any length of time (2 years), once before. In this case, he has been incarcerated for twice that
17

18   time. It stands to reason that he has been experiencing some extraordinary pressure that could

19   have led to upsets. This is not necessarily a picture of who Mr. Qazi is on the outside, and the
20
     court should treat these reports with a liberal grain of salt.
21
             With that said, Mr. Qazi has responded positively to the critical or constructive feedback
22
     concerning these events, and on his own, elected to take an Anger Management Course in the
23

24   facility. He has successfully completed it, and it is expected that he will employ the skills that he

25   learned in the class in other situations. In addition, Mr. Qazi has been taking college courses to
26
     prepare for a career as a paralegal. He has shown tremendous focus and commitment to this task
27
     (as he did in graduating from high school). He has done phenomenally in this endeavor, earning
28
                                                        8
           Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 9 of 11



1    exemplary grades in the course. Having been away from substance dependency for this period has
2
     made him more motivated to achieve his goals, and with greater support (particularly to address
3
     any drug addiction), he can be expected to make a contribution to society. That Mr. Qazi has
4
     managed to acquire friendships in custody with the Bundys, for example, shows his ability to
5

6    “reach across the aisle,” so to speak, and to obtain the respect and admiration of others who may

7    not share his socioeconomic background, religion, or ethnicity.
8
                                                 Conclusion
9
            The Court can reasonably exercise its discretion to impose a lower than 110-month
10
     custodial sentence on Mr. Qazi. Mr. Qazi can be a productive and positive member of society who
11
     does a lot of good for himself, his family, and particularly, his minor son. He wants to do good
12

13   for his community, and most important, be a good father to his son. The Sentencing Guidelines

14   “place essentially no limit on the number of potential factors that may warrant a departure.” 6 All
15
     of the foregoing reasons described herein provide satisfactory reasons for a departure. The court
16
     should depart downward and impose upon Mr. Qazi no more than forty-six (46) months.
17
            Mr. Qazi also respectfully requests that he be considered for the RDAP program.
18

19   ///

20   ///
21
     ///
22
     ///
23

24

25

26

27

28                  6
                        See, e.g., Koon v. United States, 518 U.S. 81, 106 (1996) (Emphasis added).
                                                       9
         Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 10 of 11



1           Good cause exists for the court to impose no greater sentence upon Mr. Qazi than 46
2    months (if not fewer). It is therefore requested that the Court depart below the Guideline range,
3    as calculated, and also consider him for the RDAP program.
4                  Dated this 8th day of November, 2018.
5

6                                                    Respectfully submitted,
7                                                    LAW OFFICE OF TELIA U. WILLIAMS
8
                                                      /s/ Telia U. Williams, Esq.
9                                                     Telia U. Williams, Esq.
                                                      Nevada Bar No. 9359
10                                                    10161 Park Run Dr., Ste. 150
11                                                    Las Vegas, NV 89145
                                                      Attorney for Defendant
12                                                    Omar Qazi
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                    10
          Case 2:15-cr-00014-APG-VCF Document 555 Filed 11/08/18 Page 11 of 11



1                                       CERTIFICATE OF SERVICE
2
                The undersigned hereby certifies that on the following date the foregoing Sentencing
3
     Memorandum was electronically filed under seal with the Clerk of Court using the CM/ECF
4
     system, with a copy sent by email to all counsel of record, and to the United States Probation
5

6    officer.

7
     Dated: November 8, 2018
8

9
                                                            /s/ David DaSilva
10                                                          _______________________________
                                                            For the Law Office of Telia U. Williams
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       11
